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                     EXHIBIT 7
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   November 5, 2020

    VIA EMAIL
    (msyungwirth@duanemmorris.com)

    Matthew S. Yungwirth, Esq.
    Duane Morris LLP
    1075 Peachtree Street NE, Suite 2000
    Atlanta, GA 30309-3929


   Re:     Ultravision Technologies, LLC v. Holophane Europe Limited, et al.
           Case No. 2:19-cv-00291-JRG (E.D. Tex.)

   Matt:

   I write in response to your October 26, 2020 letter regarding two issues in the above-captioned
   case: (1) personal jurisdiction over of the four named defendants; and (2) infringement claims
   regarding the Sign-Vue LED II product. I address each in turn.

   Regarding the first issue, as I am sure you are aware, your clients have chosen to renew the
   already-denied motion to dismiss these entities for lack of personal jurisdiction as a summary
   judgment motion. As there is a pending motion, there does not appear to be anything to discuss
   and these issues will be briefed. Your letter does imply that it is somehow up to Ultravision’s
   expert, Dr. Coleman, to have proof of an infringing act in the United States in his report. This is
   not so, and if you have any case law to support your position, please let us know. Dr. Coleman’s
   report adequately analyzes the technical aspects of the products at issue in the case and compares
   them to the asserted claims, ultimately concluding that they infringe the asserted patents.
   Nothing more is required of Dr. Coleman.

   Regarding the second issue, you are blatantly misreading the asserted claims. Claim 10 of the
   ’410 patent requires “a plurality of LEDs directed toward the display surface,” which Ultravision
   has identified as the four LEDs annotated in Dr. Coleman’s claim chart:
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   Claim 10 of the ’410 patent goes on to require a plurality of lenses, “wherein each lens is
   disposed over only one associated LED.” It is clear that the antecedent basis for the “only one
   associated LED” is one of the plurality of LEDs. Ultravision’s infringement read is proper. Of
   each of the plurality of LEDs, only one of the plurality is located under each lens. Because of
   the open-ended transition term “comprising,” it is hornbook patent law that additional LEDs that
   are not part of the plurality of LEDs are not germane to the infringement of the asserted claims.
   Your expert is, of course, free to disagree as I am sure he will when we receive his report.

   We look forward to presenting this triable issue of fact to a jury.

   Very truly yours,

   FABRICANT LLP

   /s/ Joseph M. Mercadante

   Joseph M. Mercadante

   JMM:cjs
